                                      Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 1 of 7
:\0 2~ 5l3 (Re v. P'-.1 / 191   .luJgmrn t in a Cri111i11a! Case                                                                                                                                    US'; fl ED
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                                                       U NITED STA TES ·.o lSTRICT C OURT                                                                                                                s P 2 9 2021~
                                                                                                                                                                                                 TAMM     . DO N,Si      ERK
                                                                             Eastern District of Arkansas                                                                                  By:                  L
                                                                                                   )
                    UNITED STATES OF AMERICA                                                       )
                                                                                                                   .JUDGMENT IN A CR IMJNAL CASE                                                                      DEPCLERK

                                              V.                                                   )
                                                                                                   )
                         MANUEL ERNESTO MEJIA                                                                      Cas~ Number: 4:20-CR-00312-001 LPR
                                                                                                   )
                                                                                                   )                USM Number: 19666-509
                                                                                                   )
                                                                                                   )                  Molly K. Sullivan (appointed)
                                                                                                   )               Dele11da11 L's           Attorney
THE DEFENDANT :
~ pleaded guilty to count(s)                       1 oft.~~ Supersedingl_11J<::>_r:.r:!1_~t!gn __
                                                                                                                                                                       ··············-   ----·-- -
0 pleaded nolo contenclere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
                                                                                               ············-···-·······-·-- ···· · - --          -      -         -          - - - - - - -- ---
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

T itle & Section                             Nat11 re of Offense                                                                                                                         Offense Ended          Count
21 U.S .C. § 841 (a)(1)                      Possession with Intent to Distribute Heroin,                                                                                                10/13/2020           1ss

and (b)(1 )(B)                               a Class B Felony



       The defendant is sentenced as provided in µages 2 through                               _ _7_ _ of this judgment. The sentence is imµosed µursuant to
the Sentencing: Reform Act of 1984.
D The defendant ha s been found not guilty on count(s)
Ill Count( s)           1 of the Indictment                              ~ is        Dare dismissed on the motion of tile United States.

         It is ordered that the defendant mu st notify the United States attornev for this district within 30 clays of any change of name, residence,
or mailing address un til all fines, restitution, costs, and special assessments iniposed by this judgment are fullv paid. If ordered to pav restitution.
the defendant must notify the CO Uit and United States attorney of material changes in econonoc circumstances.                             -

                                                                                            ............. -.   -········"                                    -    ..
                                                                                                                                                                                  9/24/2021
                                                                                             Datcoflmdp
                                                                                                     o,i<i"~                                                          -


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                                                                                             S lgnat.ure (                    g..::




                                                                                                                            Lee P . Rudofsky, United States District Judge
                                                                                             Name and T itk of'.ludgc




                                                                                             Date
                              Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 2 of 7
AO ~4 5B (Rev . ()9!19) Judgment in Cr iminal Ca,c
                        Sheet 2 -   [111prison111c111

                                                                                                                                          Judgment ·- ··· Page   2             7
 DEFENDANT:  MANUEL ERNESTO MEJIA
 CASE NUMBER: 4:20-CR-00312-001 LPR


                                                                               IMPRISONMENT
           The clefenclam is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 FORTY-THREE (43) MONTHS




      ~ The court makes the following recommendations to the Bureau of Pri sons:

            IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be
            incarcerated in Nevada or as close as possible to be close to his family in Nevada; and that defendant participate in
            substance abuse treatment, mental health counseling, and educational and vocational programs during incarceration.
            The Court strongly recommends the RDAP program.
      fll   The defendant is remanded to the custody of the United States i'v1arshal.

      D The defendant shall surrender to the United States Marshal                                        for this district:

            D at                                ---
                                                              D a.m .              D p.m.                     Oil


            D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the in stitution designated by the Bureau of Pri sons:
            D before 2 p.m.         on
                                            - --        - - - --·~~······.............. _,.   __ .,.,.,




            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                                         RETlJRN
I have executed this judgment as follows:




            Defendant delivered on                                                                                             to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis_iuclgment.



                                                                                                                                       UNITED ST;\TES MARSHAL



                                                                                                           By       . . . . .. . .... ------- - -- - - - - - - - - - - - - -
                                                                                                                                    DEPUTY UN [TED STATES MARSHAL
                              Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 3 of 7
A() 245B (Rev. 09i191   Judgme nt in a Criminal Case
                        Sheet 3 -  Sup.:rvis~d Rdcasc
                                                                                                       .fudgn1en1-Page          of ____ ]_
DEFENDANT: MANUEL ERNESTO MEJIA
CASE NUMBER: 4:20-CR-00312-001 LPR
                                                         SUPERVISED RELEASE
Upon release from irnprisonmem, you wil l be on supervised release for a tenn of:

 THREE (3) YEARS




                                                        MANDATORY CONDITIONS
I.   You must not commit another federa l, state or loca l crime.
2.   You must not unlawfully possess a contro lled substance.
3.   You must refrain from any unlawfu I use of a contro ll ed substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter. as determined by the court.
              0 The above drug testing condilion is suspended. based on the coU1t's determination that you
                  pose a low risk of future substance abuse. (check /I applicable)
4.    0 You must make restitution in accordance ,vith 18 U.S.C. §§ 3663 and 3663A or any other statute authoriz ing a sentence of
          restitution. (check it"applicable)
5.    llf You must cooperate in the collection of DNA as directed by the probation officer. (check //'applicable)
6.    D You must comply with the n:-quirernents of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer. the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside. work, are a stu dent, or ,vere convicted of a qualit\ing offense. (check !i"applicableJ
7.    0 You must participate in an approved program for domestic violence. (check ifapplicableJ

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                           Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 4 of 7
NJ 24513 (Rev. 09/191   Judgmc:nt in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                                      1_-··-·-
                                                                                                 Jud gment-Page _ _____          of _ _ _c_
                                                                                                                                         7 _ __
DEFENDANT: MANUEL ERNESTO MEJ IA
CASE NUMBER: 4:20-CR-00312-001 LPR

                                        STANDARD COND ITIONS OF SUPERV[SION
As part of your superv ised rel ease, you must comply with the following standard conditions of supervi sion . These conditions ,ire imposed
because they esta blish the basic expectation s for your behavior while on supervi sion and identify the minimum tools needed by probation
officers to keep informed, report to the court about. and bring about improvements in your conduct and condition.

I.     You must report to the probation office in th e federal judicial district where you are authorized to res ide within 72 hours of your
       release from imprisonment. unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
7      After ini tially reporting to the probation office, you will receive in structions from the court or the probation officer about how and
       when you must report to th e probation officer, and you must re port to the probation officer as instructed.                        .
3.     You must not knowingly leave the federal judicia I di strict where you are authorized to reside without first getting permission from the
       court or the prnbation officer.
4.     You must answer truthfully the question s asked by your probation ofiicer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       ammgements (s uch as the people yo u li ve with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not poss ible due to unanticipated circumstances. you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must perm it the probation officer to
       take any items prnhibired by the conditions of your supervision that he or she observes in plain viev,;.
7.     You must work ful l time (at least 30 hours per week) at a lawful type of employm ent. unless the probation officer excuses you from
       doing so. If you do not have full -time employment you must try to find full -time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I0
       days in advance is not possible due to unanticipated circumstances. you must notify the probation officer within 72 hours of
       becoming mvare of a change or expected change.
8.     You must not communicate or interact with someone vou know is engaged in criminal activitv. Ifvou know someone has been
       convicted of a fe lony, you must not knowingly comm~nicate or interact-with that person with-out fi~st getting the permissi on of the
       probation offi cer.
9.     If you are arrested or questioned by a law enforcement officer, you must noti(v the probation officer within 72 hours.
10.    You must not own. possess, or have access lo a firearm . ammunition, destructive device, or dangerous weapon (i.e .. anything that was
       designed. or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
11 .   You mu st not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permiss ion of the court.
12.    If the probation offi cer determines that you pose a risk to another person (including an organization), the probation of1icer may
       require you to not ify the person about the ri sk and you mu st comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You mu st fo llow the instructions of the probation ofticer related to the conditions of supervis ion.



ll.S. Probation Office Use Only
A U.S. probation officer ha s in structed me on the conditions spec ified by the court and has provided me with a written copy of this
judgment containing these conditions. For furth er information regarding these conditions. see Overview cf f'ro buiion and Supervised
Release Conditions, availab le at: www.uscourts.gov.


Defendant's Signature                                                                                      Date      - - - -- - - -       - - - • •••••- • • • • . . • • •OHM
                           Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 5 of 7
AO 24~B (Rev. (J9/19i   Judgm~nt in a Criminal Case
                        Sheet :,D - Supervised Re lease
                                                                                              Jullgn1c111-Page __5__ of ____ _7 ___ _
DEFENDANT: MANUEL ERNESTO MEJIA
CASE NUMBER: 4:20-CR-00312-001 LPR

                                            SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the
 probation office which may include drug and alcohol testing, outpatient counseling , and residential treatment. Further, the
 defendant must abstain from the use of alcohol during treatment. The defendant must pay for the cost of treatment at the
 rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
 probation office. In the event the defendant is financially unable to pay for the cost of the treatment, the co-pay
 requirement will be waived .

 2. Defendant must participate in a mental health treatment program under the guidance and supervision of the probation
 office . Defendant must pay for the cost of treatment at the rate of $10 per session , with the total cost not to exceed $40 per
 month, based on ability to pay as determined by the probation office. In the event the defendant is financially unable to pay
 for the cost of the treatment, the co-pay requirement will be waived.

 3. Defendant must participate in Adult Education, GED, literacy classes, or other vocational/educational programs under
 the guidance and supervision of the probation office.

 4. Defendant plans to live in Las Vegas, Nevada upon release . He should therefore be supervised in the District of
 Nevada. The Court will initiate a transfer of jurisdiction to that District in due course.
                                    Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 6 of 7
Ml :;:151·3 mcv. ()'Ii i 91   .ludgm.: 111 in a Crim i11:il Case
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                                                                                                                             .l udgmc11 l - Page   _ . . c6-c..__   uf    7
 DEFENDA NT: MANUEL ERNESTO MEJIA
 C i.\S E NUi'vlB ER: 4:20-CR-00312-001 LPR
                                                              CRIMINAL lWONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under 1he schedule of payments on Sheet 6.


                              Assessment                      Restitution                     Fine                    AVAA Assessment;·,                 .JVTA Assessment;,,,,
 TOTA LS                 $ 100.00                         $                               $                       s                                 s

 0      The determin ation of restitution is deferred until
                                                            ----
                                                                                                     An .·/m ended .htc(gmcnt in a Criminal Case (AO 2:/5C) will be
        entered after such determination .

 0     The defendant must make restitution (including community res1ituti on) to the following payees in the amount listed below.

        ff the ckfendant makes a partial payment. each pavee shall receive an approximately p 1:o~or~ioned P,ayment, L(nless sp~ci_fied otherwise jn
        th e priontv order or percenta ge p<1 v111e11t column below. However, pursuant to 18 U.S.C . ~ 3664(i). all nontederal v1ct1m s must be paid
        before the,United States is paid . ·                                                         ·

 Name of Pavce                                                                    Total Loss"';,,,                Restitution Ordered              Prioritv or Percentage




TOT A LS                                         s                                 0.00              S _ _ _ __ _ _0_._00_


 0       Restitution amount ordered pursuant to plea agreement $

 0       The defendant must pay interest on restitution and a fine of more than S2.500, unless the restitution or fine is paid in full before the
         frli:eenth day <1fl:er the date of the judgment, pursuant to 18 U.S.C. § 36 I2(f). Al I of the payment options on Sheet 6 may be subject
         to penalt ies for delinquency and default. pursuant to 18 U.S .C. § 3612(g).

 O       The court determined that rhe defendant does nor have the ability to pay interest and it is ordered that:

         0     ihe interesi requi rement is waived for the                        O fine       O restitution.
         0     the interest requirement for the                    O       fine    O restitution is modified as follows:

''. Amy._Vil:ky, ,)nd And:,r ~:hi)9 Porno,~raphy Vi~tim Assistance Acl of 2018, Pub. L. No. 115-299.
''* Justice for V1ct1111s ol I raflick11111. /\ct of 20 I ), Pub. L.. No. I 14-22.
*** Findings for the total amount ol'Iosses are required under Chapters 109A, 110, I I0A, and 113A of Title 18 for offenses committed on
or after September 13. 1994. but before April 23. 1996.
                                Case 4:20-cr-00312-LPR Document 36 Filed 09/29/21 Page 7 of 7
,\u 245B (Rev. U<)/ l(JJ   .ludg.menl in a Cri111inal l ·asc
                           Sireet o - SdH:duk L>f' Payment:.

                                                                                                                                 Judgment -    Page     7..     or        7
 DEFENDANT: MANUEL ERNESTO MEJIA
 CASE NUMBER: 4:20-CR-00312-001 LPR


                                                               SCHEDULE OF PAYMENTS

 Having assessed ril e defendant's ability to pay. payment of the total criminal monetary penalties is clue as follows:

 A      fll   Lump sum payment of S              100.00                   due immediately. balance due

              D       not later than                                           . or
              D       in accordance with D C,              D     D,      D      E. or        D F below; or
 B      D     Payment to begin immediately (may be combined with                         DC,             D D,or        D F below); or

 C      D     Payment in equal                             re .g. , weeklv, 111011th!F, q1.wrrer!vJ   instal lments of $                  over a period of
                                (e.g. , 111oi1th.1· 11r1--eun). to commence                       (e.g. 30 or 6n clavs!     after the date of th is judgment: or

 D      D     Payment in equal                             (e.g. weekiv, 111li111h~v. quarier!J'/     in stallm ents of $         ... .. .   over a period of
                                (e.g. momhs or yearsi, to commence             _ _ __ _           /e.g. , .W or(,() day.1) aner release from imprisonment to a
              term of supervision; or

 E      D     Payment during the term of supervised release will commence within _ _ __ _ (e.g .. 30 m· 60 day.1) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defr.nd,1nt 's ability to pay at that time; or

 F      D Special instructions regarding the payment of criminal monetary pena lties:




Un less _the co,~1·t ha? expressly order~cl ?therwise, ifthisjucfo:rnent imposes imprisonment, payment of criminal monetary penal_tie~ is du_e during
the period ot 1mpnsonment. All crtm1 nal monetclrv penafhes. except those payments made thrnugh the Federa l Bureau of- Pnsons Inmate
Financial Responsibi lity Program, are made to the 'clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                                    Joint and Several                     Corr~~poncling_ Payee,
       (inc/11di11g deJ;ind,.mr number)                            Total Amount                                 Amount                                1f appropnate




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay th e following court cost(s):

D      The defendant shall forfeit the defendant's i11te1·est in the following property to the United States:



P~y1!1ents ?hall be app~icd _in the following ord~r: (I) ~sse_ssment. (2) yestit ution principal, (3) 1:est itution interest, (4) A V,AA assessment.
()) tmc pnnc1pal, (6) fme mterest, (7) community rest1tut1on, (8) ./\ I A assessment, (9) penallles, and (I 0) costs, 111clud111g cost of
prosecution and cou1t costs.
